 The People of the State of Colorado, Petitioner-Appellee,  In the Interest of Erica Ashley Lyle, Respondent-Appellant. No. 21CA1132Court of Appeals of Colorado, Seventh DivisionOctober 7, 2021
    
               NOT
      PUBLISHED PURSUANT TO C.A.R. 35(e)
    
    
                City
      and County of Denver Probate Court No. 21MH711 Honorable
      Elizabeth D. Leith, Judge
    
    
               
      OPINION
    
    
               
      NAVARRO, JUDGE
    
    
               ORDER
      AFFIRMED
    
    
                Grove
      and Pawar, JJ., concur
    